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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               NORTHERN DIVISION

CYNTHIA NEAL                                                                     PLAINTIFF

v.                               Case No. 3:22-cv-00111 KGB

FAMILY DOLLAR SERVICES, LLC                                                     DEFENDANT

                                 ORDER OF REASSIGNMENT

       The above styled case was assigned to the docket of United States District Judge

Kristine G. Baker, on May 3, 2022. Because Attorney Joseph R. Falasco appears on the Court’s

recusal list and has entered an appearance as counsel for defendant Family Dollar Services, LLC,

the case should be reassigned.

       The Clerk’s Office is directed to issue a Notice of Reassignment.

       Dated this 31st day of May 2022.

                                                   AT THE DIRECTION OF THE COURT
                                                   TAMMY H. DOWNS, CLERK


                                                   BY: Tracy M. Washington
                                                      Courtroom Deputy to United States
                                                      District Judge Kristine G. Baker
